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  Charles Augustus Steen III
  1721 NE 14th Street
  Portland 0 R 97212                                     FILED03 NOV "1712:46USDC·ORP
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   q 7 I - Z. -z., 7 - (oCj 3,;J.-
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 PENGUIN RANDOM HOUSE
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 212.782.9,qpo



                          THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF OREGON


 CHARLES AUGUSTUS STEEN III, an individual,              Case Number: c3 ';· 7-C ti - I 7 65- Sb
     Plaintiff

 v.

 DR. SEUSS ENTERPRISES L.P.                              COMPLAINT FOR COPYRIGHT
 & PENGUIN RANDOM HOUSE,                                 INFRINGEMENT AND
       Defendants                                        DECLARATORY RELIEF
                                                         DEMAND AND JURY TRIAL




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                                   COMPLAINT



Plaintiff Charles Augustus Steen III, for its complaint against Defendants DR.

SEUSS ENTERPRISES L.P., & PENGUIN RANDOM HOUSE, hereby

alleges, on knowledge as to its own conduct and otherwise on information and

belief, and absolute facts as follows:



                           NATURE OF THE ACTION



1.    This action arises from Defendants DR. SEUSS ENTERPRISES L.P., &

PENGUIN RANDOM HOUSE whom collectively have willfully and blatantly

committed copyright infringement of Plaintiffs intellectual property rights in

creating "Daisy-Head Mayzie' 1995-2016 the first supposed 'lost' work of Dr. Seuss

based on the textual expression and illustrations by Plaintiff, namely materials

constituting Plaintiff children's story "The Pains of Being Pure at Heart" Txu-

500-969 (Exhibit 1-a), copyrighted 95 days before Dr. Seuss died, in violation of

the U.S. Copyright Act.

2.    In 1992 Plaintiff sent his work to the Institute of Children's Literature in

Connecticut where it was accepted for enrolment in their course on May      lih 1992.
(Exhibit 1-b). Tish Rabe (who has written for Dr. Seuss Enterprises L.P. since

Seuss's death) was associated, the Defendants claimed to have discovered 'the lost

work' on May   lih 1994, which is fundamentally the Plaintiffs work (Exhibit 2.)


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3.      Thus, Plaintiff has no choice but to file this lawsuit seeking injunctive relief

and the damages he has suffered as a result of DR. SEUSS ENTERPRISES

L.P., & PENGUIN RANDOM HOUSE's activities constituting copyright

infringement under the Copyright Act of 1976, 17 U.S.C. §§ 501 and specifically

for Misappropriation of Ideas & Creative Language 17 U.S.C. 102(a).                The

exhibits in this case will focus only on the copyright infringement elements, yet

other elements will be sited from case T-213-15, which took place in the Canadian

Federal Court between, February 18th 2017 until April 20th 1017, in which the

Canadian Court sided with Brain McLeod Rogers of PENGUIN RAMNDOM

HOUSE OF CANADA stating the this is an American Copyright case, based on

Jurisdiction of all the parties involved.

4.      The following cases mirror this particular case. SALINGER v. RANDOM

HOUSE, INC., 811 F.2d 90 (2nd Cir. 1987), WILSON v. WALT DISNEY Case

No. 3:14-cv-01441, ROGERS v. KOONS - 960 F. 2d 301, MODERN DOG

DESIGN v. TARGET CORPORATION - 2:11-cv-01816, SID & MARTY

KROFFT TELEVISION v. MCDONALD'S CORP. 562 F.2d 1157 (9th

Cir. 1977).

5.      The Plaintiff has three years for the Statute of Limitations from the last

book or video-tape DVD or VHS of the original Daisy-Head Mayzie 1995-2016

sold for ongoing copyright infringement for a total of $250,000.00 under 17

U.S.C. 506(a) per infringement, as clearly sited in PETRELLA v. MGM No.              12-


1315.



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6.    Furthermore it is the moral duty of the Plaintiff is to "EXPOSE" the

Defendants DR. SEUSS ENTERPRISES L.P., & PENGUIN RANDOM

HOUSE and their associates to this Court as well as the Public at Large, for

their blatant disregard of the truth by creating, not one, but three "FAKE" Dr.

Seuss books under 18 U.S.C. § 1038 - FALSE INFORMATION AND

HOAXES, being 'Daisy-Head Mayzie' 1995-2016, 'What Pet Should I Get? - 2015

& the new version of 'Daisy-Head Mayzie' - 2016, which was released without any

press whatsoever on July 5th 2016, which just happened to be only 15 days after the

time to appeal Prothontory Kevin Aalto's ruling on June 10th 2016 that the

Plaintiff must sue the Defendants in the United States of America, for copyright

infringement; case T-231-15, in Canadian Federal Court.          The fact that the

Defendants now claim that the 2016 version is the 'real original, clearly implicates

them on charges of Fraud 18 U.S.C. § 1001 (a)(1)(2)(3) with the first version 1995-

2016, being that it is now admitted that Joe Mathieu is in fact the un-credited

artist of the first version 1994-2016, (Exhibit 30), not Dr. Seuss, as previously

claimed (Exhibits 2 & 19). Joe Mathieu was a Defendant in the case filed in

Canadian Federal Court T-231-15. Also in (Exhibit 31) PENGUIN RANDOM

HOUSE states that Jan Geradi is in fact the illustrator of the new version of

Daisy-Head Mayzie and not Dr. Seuss as claimed in (Exhibit 28). In (Exhibit 42)

the Copyright for the new version of Daisy-Head Mayzie it claims that the book

was created in 2016, not the 1970s as stated in (Exhibit 2), nor the 1960s as stated

in (Exhibits 8-a & 17), nor the 1950s as stated in the book itself (Exhibit 28).



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Thus the Defendants have incriminated themselves to Literary Forgery for

Counterfeit        Documentation,          under        18        U.S.C.         2318

(A)(iii)(iv)(vi)(4)(B)(i)(6)(D)(F) as well as (815 ILCS 505/) Consumer Fraud and

Deceptive Business Practices Act.

7.    Also, in the new 2016 version of Daisy-Head Mayzie, the Defendants have

deliberately taken out all of the 17 similarities in art and plot as well as the key

sentence '"And these are the words that (poor Mayzie said!) he read!", that they

plagiarized from the Plaintiff that were shown as examples in the previous cases,

and now claim that those plagiarized elements are the fault of Hana-Barbera

(Exhibit 28). Very convenient for the Defendants.

8.    Thus the old 1994-2016 version of Daisy-Head Mayzie is now admittedly a

fraud and a hoax by the very publisher being PENGUIN RANDOM HOUSE, in

which their very own Cathy Goldsmith has sat at the helm of the Dr. Seuss

publishing for over 20 + years. The rules of law state that everyone who bought

a copy of either the book or video, be it schools or public libraries or individuals,

who believed they were buying a 'real' Dr. Seuss book should be reimbursed to the

absolute fullest under 18 U. S. C. § 1346 for the amount of $10,000 per fraudulent

book by DR. SEUSS ENTERPRISES L.P., & PENGUIN RANDOM HOUSE

for being blatantly deceived and swindled by the Defendants for their personal

profit, and nothing else.

9.    In (Exhibit 2) it is stated that Dr. Seuss 'supplied a complete set of original

drawings', yet in (Exhibit 31) it is stated by PENGUIN RANDOM HOUSE that



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Jan Gerardi illustrated the new version of 'Daisy-Head Mayzie' 2016 in which the

Defendants claim to be the 'authentic original'.

10.   Furthermore the Plaintiff request that the Court demand to examine "The

Horse Museum," and a manila folder marked "Noble Failures," which the

Defendants have also claimed to be original Dr. Seuss works that were discovered

in 1991 and then lost and then allegedly found again in 2013 (Exhibit 23), and the

Defendants stated they were to be published in 2016, yet it seems that once the

Defendants learned of case T-231-15, all mention of those two purported books

have quietly been kept on the down low, not a word since.

11.   This is not a case of plausible deniability on part of the Defendants; this is

a clear and self-evident attempt to hoodwink the public and profit off of the

populace's gullible nature and trust of the widow (Audrey Geisel) and their

beloved children's story author Dr. Seuss, and the reputation of PENGUIN

RANDOM HOUSE, the world's largest publisher of literature.

12.   I, the Plaintiff, am sorry to be the bearer if bad news but the facts are the

facts and the truth is the truth, undeniably. Contrary to the Consensus Gentium

regarding this case, based on the evidence provided by the Defendants

themselves, "The Emperor Has No Clothes!!" The fact that the Defendants now

indeed have two versions of the so-called lost Seuss book 'Daisy-Head Mayzie' in

which both are claimed to be the 'original' book, simple logic dictates that one of

the books, if not both, are fake. It is time for the Defendants to show their so

called 'originals' of all five supposed lost and then re-discovered Dr. Seuss books,



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being, "Daisy-Head Mayzie" 1995-2016, the new '"Daisy-Head Mayzie" 2016, "What

Pet Should I Get?" 2015, '"The Horse Museum," and a manila folder marked

"Noble Failures," mentioned thus far and have them verified under sworn penalty

of perjury, 49 CFR II04.5 of 18 U.S.C § 1621, by two Court appointed

independent experts in forgeries as well as one by the FBI. Such as in Case #

3:17-MJ-00072. The books which should be cross examined with the above five

listed should be the original Dr. Seuss books, being, "The Cat In the Hat",

"Green Eggs and Ham", "One Fish, Two Fish, Red Fish, Blue Fish" and 'Oh, The

Places You'll Go!", as well as "One Cent, Two Cents, Old Cent, New Cent" by

Bonnie Worth and illustrated by Aristides Ruiz and Joe Mathieu, "The Gink" by

Belinda Ward and Tish Rabe and illustrated by Joe Mathieu and Joe Ewers,

"What Cat is That?" (Exhibit 33-b) by Tish Rabe and illustrated by Aristides Ruiz

and Joe Mathieu, and "Oh, the Pets You Can Get!" (Exhibit 33-a) on January 25,

2005 - written by Tish Rabe and illustrated by Aristides Ruiz & Joe Mathieu.

13.   Exhibit 23 - states, "Through painstaking work and a meticulous, almost

forensic reconstruction of Mr. Geisel's creative process, those abandoned pages

have yield an unexpected new Dr. Seuss book called "What Pet Should I Get?"

14.   The most absurd blunder that the Defendants have made is that they

actually released a book called "Oh, the Pets You Can Get!" (Exhibit 33-a) on

January 25, 2005 - written by Tish Rabe and illustrated by Aristides Ruiz & Joe

Mathieu and then on September 24th 2013 they released "What Cat is That?"

(Exhbit 33-b) - written by Trish Rabe, and illustrated by Aristides Ruiz & Joe



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Mathieu and then on July 28th 2015 they release "What Pet Should I Get?" in which

they claim was created by Dr. Seuss between 1958 and 1962. The copyright for

"What Pet Should I Get?" states that the book was created in 2015 (Exhibit 41).

They claim that "What Pet Should I Get?" was discovered in 1991 and then put

away until 2013, and yet in (Exhibit 2) it is stated by Janet Schulman (deceased) of

Random who said, "The author's files contain much other unpublished material."

15.   Question # "How can the Defendants actually claim to have lost 'What Pet

Should I Get?" in 1991, just after finding it by Random House's very own Janet

Shulman, and allegedly created buy Seuss between 1958-1962?

16.   Question # Why would it take the Defendants 20 years, 9 months and 2

days to announce the rediscovery of the so-called other lost original 'What Pet

Should I Get?" and 22 years   l   months and 21 days release the new version of 'Daisy

Head Mayzie', that the defendants now claim is in fact the real original?

17.   Question # Why wouldn't Cathy Goldsmith of PENGUIN RANDOM

HOUSE mention the new version of Daisy-Head Mayzie 2016 when she was

interviewed on PBS Newshour on July 28th 2015 (Exhibit 29)? In fact it is quoted:

JEFFREY      BROWN:      Is       there   possibly   more    to   come   then?   CATHY

GOLDSMITH: 'I don't -             there was nothing else found in that box that was

complete, so, no, there's no other new books coming down the line'.

18.   Thus the Defendants are claiming, for the record that, "What Pet Should I

Get?" was created by Dr. Seuss sometime between Yertle The Turtle And Other

Stories (1958), The Cat In The Hat Comes Back! (1958), Happy Birthday To You!



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(1959), Green Eggs And Ham (1960), One Fish Two Fish Red Fish Blue Fish

(1960), The Sneetches And Other Stories (1961) & Dr Seuss's Sleep Book

(1962)    and that they discovered it in 1991 and then lost it again and then

rediscovered it in 2013 yet they publically admit too creating two imitation Dr.

Seuss books with almost identical titles after his death, being "Oh, the Pets You

Can Get! - 2005" & "What Cat is That? 201f? These coincidences are beyond

laughable, at this point.

19.      If the Defendants are unable or unwilling, to provide these so-called

originals, to be verified for authenticity, than I ask this Court for a Summery

Judgment, in favor of the Plaintiff as well as to open a criminal investigation

against the Defendants for intentional international fraud.

20.      It is the wish of the Plaintiff that this Court upholds its civil duty to fully

investigate these claims and when upon realizing that what the Plaintiff has

stated is mo% true, that this Court punish the Defendants to the fullest extent of

the Law under 18 U.S. Code § 1968, for defrauding the public with three fake Dr.

Seuss books, and stating that they have two more originals, and the fact that the

Defendants have repeatedly created multiple fraudulent Dr. Seuss books and have

been dealing their merchandise over state lines clearly implicates them on charges

of RICO and thus the Court should have Audrey Geisel, Karl ZoBell, Joe

Mathieu, Aristides Ruiz, Cathy Goldsmith and Tish Rabe investigated, and if

found guilty imprisoned for the term of 20 years each under 18 U.S.C §1963, for

their blatant disregard of the TRUTH, and thus committing the most heinous



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crime in the history of forgeries in the realm of Children's Literature that this

world has ever seen.

425 U.S. 185, 196 "(a) To employ any device, scheme, or artifice to defraud." (b) To make any untrue statement of a
material fact or to omit to state a material fact necessary in order to make the statements made, in the light of the
circumstances under which they were made, not misleading, or "(c) To engage in any act, practice, or course of
business which operates or would operate as a fraud or deceit upon any person.


21.     I, the Plaintiff, make no apologies for the cognitive dissonance in which one

might feel while learning these deplorable facts.

22.     The Defendants will naturally contest jurisdiction and state the case should

be heard in Southern California, because that is where Audrey Geisel, Karl

ZoBell, Cathy Ann Bencivengo, and where the rest of their associates reside, such

as Tim Curry and J. Tony Serra. Audrey Geisel is a major philanthropist and on

the California Hall of Fame for simply being the widowed wife of someone great

and using his ideas to gain her and her collaborators their vast amount of wealth.




Maria Shiver, Ellen North, Steven Graham, Dave Brubeck, Tom Stanford, Dr. Linus Pauling Jr.,
Jack LaLanne, Alice Waters, Audrey Geisel, Quincy Jones, Jane Fonda, Daniel Dixon & Jack
Nicholson.




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Top row: Chancellor Khosla, Thespine Kavoulakis, Alexander Butterfield from the Water Gate
Scandal, Lynda Claassen the librarian of the pf; Seuss collection at: UCSD, Claudia Prescott who
was Dr. Seuss's secretary and Jim Prescott; Bottom row: Marye Anne Fox, Audrey Geisel the
widow of Dr. Seuss.




Audrey Geisel & Arnold Schwarzenegger



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Audrey Geisel, her daughter Lark Grey Dimond-Cates & Ted Kennedy


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         Joan Jacobs, Sheri Jamieson & Audrey Geisel


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                                  THE PARTIES



23.     Plaintiff Charles Augustus Steen III is the author and illustrator of 'The

Pains of Being Pure at Heart' TXu-500-969 copyrighted June 21 5 \ 1991, being 95

days before Theodore Seuss Geisel (Dr. Seuss) passed away on September 24th

1991. (Exhibit 1-a)

24.     Defendant DR. SEUSS ENTERPRISES L.P is located at 1200 Prospect

St# 575, La Jolla, CA 92037,

25.     Defendant PENGUIN RANDOM               HOUSE is the World's largest

Publishing Company, with its principal place of business at 1745 Broagw3.y 230

West 56th Street, New Yorlc   City~


26.     The individuals referenced in this case are those who provided the evidence

for this case. They are as follows ... Audrey Geisel, Tish Rabe, Markus Doble,

Cathy   Goldsmith~    Joe Mathieu, Claudia Prescott, Philip Nel, Lynda Claassen,

Aristides Ruiz, Karl ZoBell, Cathy Ann Bencivengo, Susan Brant, Tim Curry,

Steven Paul Leiva, Herb Cheyette, J. Tony Serra & Christopher M. Young.




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28.    Audrey Geisel is the widow of
Dr. Seuss. She and Seuss married on
June 21 1968 only 242 days after their
infidelity affair, which caused the first
wife Helen Palmer to commit suicide
on October 23 1967. Audrey Geisel
owns DR. SEUSS ENTERPRISES
L.P., which was created soon after
Theodor Seuss Geisel passed away. In
(Exhibit 2) she stated she found the
script in the bottom of a drawer, and
that Seuss supplied a complete set of
original drawings. Yet in (Exhibit 17)
Audrey said she that the manuscript
for     "Daisy-Head            Mayzie" was
unfinished. Yet in (Exhibit 30) it is
stated that Joe Mathieu was the un-
credited illustrator of the first (1995-
2016) version of Daisy-Head Mayzie.


29.   Tish Rabe has ·written over 50+
NEW Dr. Seuss books since the real
Dr. Seuss died on September 24th
1991. She is closely associated to the
Institute    of   Children's    Literature
whom        Plaintiff   submitted      his
Children's Story .. The Pains of Being
Pure at Heart' to way back in early
1992 (Exhibit 1-b).



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30.     Markus Dohle is the CEO of
Penguin Random House. As CEO he
is responsible for everyone's conduct
that works under him.                 As clearly
stated in these cases, PEOPLE & C.
Respondent,           v.      L.      DENNIS
KOZLOWSKI, Appellant Case No.
I37:    and ERNST             &    ERNST v.
HOCHFELDER ET AL. No. 74-
1042.




31.     Cathy Goldsmith is President of
the Dr. Seuss Publishing Program, for
PENGUIN RANDOM HOUSE, and
for     the   last    20      years    she    has
spearheaded all business activities at
Dr. Seuss Enterprises L.P. including
managing        the        relationship      with
Random               House,           Universal,
Illumination, and all global licensees.
Goldsmith is responsible for both
versions of 'Daisy-Head Mayzie' and
"What Pet Should I Get?"




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32.   Joe Mathieu is the now credited
illustrator of the first (alleged) 'lost'
Dr. Seuss book 'Daisy-Head Mayzie'
1994-2016 (Exhibits - 4, 5, 6, 7, 8 &
30) as well as about 50 more, NEW
Dr.    Seuss     books;      which   are
admittedly written by Tish Rabe.




33.   Claudia     Prescott    was    Dr.
Seuss's secretary for 18 years to the
day he died and she still works closely
with Audrey Geisel. She is quoted as
saying, "We didn't know that we had
such a treasure," said the assistant,
who started working for Mr. Geisel in
1972 and now helps Ms. Geisel, 93,
run Dr. Seuss Enterprises. (Exhibit
23)




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34.     Philip N el - is a University
Distinguished Professor of English at
Kansas State University. On February
26, 2014 (Exhibit 20) "New window
into Dr. Seuss' genius" Audrey Geisel
donates 1,500 items to University of
California San Diego Library - The
San Diego Union-Tribune: (Philip)
N el, the Seuss scholar, said he is
particularly interested in seeing the
original ink drawings for "Daisy-Head                       Lynda Claassen has served,
                                                      35·
Mayzie," published four years after the               since 1983, as director and chief
author    died.    It   was     released    in        curator of the Mandeville Special
conjunction with an animated TV                       Collections Library at the University
special    by     Hanna-Barbera.         "I've        of California,      San Diego.       She is
always wondered how much of this                      quoted as saying, "What we have for
book is Seuss and how much is                         Daisy-Head       Mayzie      are      195o's
Hanna-Barbera,"         Nel    said.   "These         Photostats, but no text." (Exhibit 18)
new materials will help answer these
questions."     N el,   also   wrote "The
Annotated Cat: Under the Hats of
Seuss     and His       Cats". New York:
Random House, 2007.




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36.    Aristides Ruiz - is the illustrator of 40 plus new Dr. Seuss books. He is an
absolute phenomenal artist who can create nearly perfect renditions. He is known
as a hyperrealist. These are examples of his art.




 PSYCHO Acrylic On Watercolor Paper. Private Collection 11.25" X 16.25" © Aristides Ruiz




 ANDERSON 99 Acrylic Over Colored Pencil On Board. Private Collection 13.5" X 20" ©Aristides Ruiz




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37.      Karl ZoBell - was a Lawyer at
DLA Piper and Vice President for
the Dr. Seuss Estate. He is quoted
as saying, "Mr. Steen sent us an e-
mail copy of his book. The art was
bad and the text was worse.         It had
no recognizable similarity to the Dr.
Seuss book in question. Further, we,
and Mr. Geisel's agent, had clear
proof that the Dr. Seuss book in
question had been put to paper by
him years before the Steen work was
put together by him." (Exhibit 16)




38.      Cathy Ann Bencivenga was a
Lawyer at DLA Piper for the Dr.
Seuss Estate.        She is quoted as
saying, "the manuscript for "Daisy-
Head Mayzie" was written in the
1960s,     before    Steen    was    born."
(Exhibit 17). It was the emails from
Bencivenga sent to the Plaintiff in
2001 that were edited by W. E. Skip
Stevenson     in    order    to   have    the
Plaintiff arrested for extortion on
November 5th 2003. (Dock 1, Exhibit
35 through 38, and pages 36 through
43 of case T-231-15)



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39·  Susan Brant is the President of                    40.   Tim Curry - is an actor who is
DSE. For the last 20 years, Susan has                   most famous for his rolls as Dr.
spearheaded all business activities at                  Frank-N-Future      in   ·The      Rocky
Dr.     Seuss    Enterprises        including           Horror Picture Show' and Pennywise
managing        the    relationship       with          in Steven King's ·It'. He is credited as
Random           House,           Universal,            one of the authors of Daisy-Head
Illumination, and all global licensees.                 Mayzie 1995-2016 (Exhibit 4), and
Susan      spearheads     all    Dr.     Seuss          he voiced the Character Finagle in
business including publishing, films,                   animated version (Exhibit 4-b). In
theatrical,      theme      park,        retail,        the new 2016 version in which the
promotion and television. (Exhibit                      Defendants now claim is in fact the
20) .. Random House and Dr. Seuss                       original real version his character is
Enter-prises work hand-in-hand on                       completely missing as well as the Cat
every aspect of the Dr. Seuss legacy,                   in the Hat.
from    publishing to marketing to
scheduling.      We're    true      partners,"
explains (Susan) Brandt at DSE. "I
consider them my East Coast office. I
talk to them, Tm not kidding, a
million    times      a day.     We're     that
linked."




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41.      Steven     Paul    Leiva   is    best
known for producing the animation in
Space Jam, the 1995. He also wrote
the 'Blood is Pretty'. In (Exhibit         12)

being the FAX from I CM to the
Willamette Week dated February             i\
2002,    allegedly having been written
on January 24th, 1991, While President
of Chuck Jones Productions Leiva
claims that they had found a copy of
Daisy-Head Mayzie. He wrote "We
found this in our files. It seems that
Ted submitted to Chuck many a                         42.     Herb Cheyette who died on
moon ago.        In any case, it Ted (Dr.             October      2°d 2012   was the agent for
Seuss) has forgotten about and/or                     Dr. Seuss and whom the book Daisy-
lost      his      copy      DAISY-HEAD               Head Mayzie is dedicated too.                  In
MA(Y)ZIE, we are glad to have been                    (Exhibit 13) being the FAX from ICM
able     to     recover    the   work."    Yet        to     the   Willamette         Week        dated
(Exhibit 2) states the Daisy-Head                     Februray      i\   2002,      Herb Cheyette
Mayzie was in the bottom of a drawer                  wrote, "Thanks so much for your
at Dr. Seuss's house at this point in                 letter of January 24, with enclosures.
time, sitting there for the past            20        I have discussed 'Daisy-Head Mayzie'
years.        And on the copyright it is              with Ted, who informs me that he is
alleged that Dr. Seuss wrote it in                    currently considering other uses for
1991.     (Exhibit 5) yet the Date of                 the story." Yet (Exhibit 2) states the
Registration is January 4, 1995.                      Daisy-Head         Mayzie       was    in     the
                                                      bottom of a drawer at Dr. Seuss's
                                                      house at this point in time, sitting
                                                      there for the past      20   years.



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43.     J. Tony Serra is the world
famous    criminal    defense    attorney
located in San Francisco. He was the
lawyer for the Plaintiff on March 2,
2004 and convinced the Plaintiff to
plead guilty. J. Tony Serra's brother
world famous sculptor Richard Serra
received a one million dollar grant
from The Museum of Contemporary
Art San Diego on January 26, 2005
(Dock 1, Exhibit 66, case T-231-15), in
which     Audrey      Geisel     donated
between   $15,000    -$49,999, and Karl
ZoBell    donated     between    $10,000
$14,999, and David C. Copey the
owner of The San Diego Union
Tribune donated $3,000,000. (Doc 1,
Exhibit 65, case T-231-15).      J. Tony
Serra was sent to Federal Prison for
10 months and fined $100,000 for not
paying taxes on July 29, 2005.



44.     Christopher M. Young, is the
lawyer for the Dr. Seuss Estate and
he concentrates his practice in the
defense of consumer class action
litigation, product liability and mass
tort litigation




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                                 JURISDICTION



45.   This Court has personal jurisdiction over Dr. Seuss Enterprises L.P., &

Penguin Random House, because they are major corporations that collectively

conduct substantial business in the State of Oregon. The defendants have

infringed Plaintiffs copyrights in the State of Oregon, and have purposefully

targeted its activities to and has systematically transacted, done, and solicited

business in this District. Oregon is in the Ninth District as is California.

46.    This Court has original subject matter jurisdiction over this action and the

claims asserted herein, pursuant to 28 U.S.C.           § 1331 ("federal question

jurisdiction") and § 1338(a) (actions arising under any Act of Congress relating to

copyright), in that this action arises under the laws of the United States and,

more specifically, Acts of Congress relating to copyrights.

47.   Defendants are subject to personal jurisdiction of the Court because they

have agents, do or transact business, or are otherwise found, and have

purposefully availed themselves of the privilege of doing business in Oregon and

this District. Venue is proper in this District pursuant to 28 U.S.C. § 14oo(a)

because Defendants have a regular and established place of business in this

District and may be found in this District.

48.   Venue is also proper in this District pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to the claims

occurred in this District and a substantial part of the property that is the subject



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of this action is situated in this District. Alternatively, venue is also proper in this

District pursuant to 28 U.S.C. § 1391(b)(3) because Defendants have a regular and

established place of business in this District and may be found in this District.




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                    THE 17 PLAGIARIZED ELEMENTS



49.   i -The most notable being, that in the Plaintiffs work there are characters

emulating Lukus Loo, by wearing flowers on their head in his honor; that element

was plagiarized by the Defendants.




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50.   ii - The next is that in both stories the main characters are throwing their

money on the ground, that element was clearly plagiarized by the Defendants.




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51.   iii - The next is that in both stories the main characters are reading books

in the beginning, that element was clearly plagiarized by the Defendants.




52.   iv - The next is that in both stories the main characters are singled out and

taunted by classmates, that element was clearly plagiarized by the Defendants.




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53.   v - The next is that in both stories the main characters have an animal friend

that appears in text and illustrations, which does not speak, and that element was

also clearly plagiarized by the Defendants.




54.   vi - The next is that in both stories the main characters in the beginning are

not famous, nor do they have flowers on their heads, that element was also

plagiarized by the Defendants.




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55.   vii - The next is that in both stories the main characters have celebrations in

their honor.




56.   viii - The next element that was plagiarized is that both main characters

gain fame and wealth and are the center of attention, in which they despise.




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57.   ix - The next plagiarized element is that both main characters go the wisest

man in town for advice, after being bullied by their peers.




58.   x - In both stories they have a florist.




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59.   xi - The next is that in both stories the main characters accept the flower

near the end and are enlightened.




60.   xii - The next is that both characters at one point care more about fame and

wealth than love, and thus feel empty inside.




'
fJ



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61.   xiii - The next similarity is that both main characters feel the need to leave

town and seek the outdoors, alone in search for peace of mind.




62.   xiv - In both stories the minor characters are often standing oddly close

together.




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63.   xv - In both stories the flowers are seven peddled.




64. xvi - Both stories have books stacked on each other.




65.   xvii - Is the fact that the plaintiff wrote, "And these are the words that he

read." near the end of his story, before the final poem. And in the 1995 'alleged'

posthumous Dr. Seuss book published four years after Seuss's death, it reads,

near the end of the story, before the final poem "And these are the words that poor

Mayzie said", which just happens to have been taken out of the New     2016   version,

which the defendants now claim to be the 'actual original', which is created in


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2016 according to the Copyright Office (Exhibit 42).            Note: (Exhibit 32) clearly

states that Joe Mathieu was the un-credited artist of the 1995-2016 version and he

was listed as a defendant in case T-231-15.


                           Plutus Plutarch found some poems
                             that Luku.s Loo \'tTOte one day.
                   Plutus Plutarch was sad as tears fell from his head.
                         And these are the w"Ords that he reatL




66.   NOTE: Near the end of The New Version of Daisy-Head Mayzie 2016 they

have deliberately taken out the similarities, as well as have taken out the

paraphrasing of textual expression, being the phase, "And these are the words that

poor Mayzie said." Hence Dr. Seuss did not write the complete manuscript as

stated in (Exhibit 2). The Defendants also plagiarized the entire concept of the

Plaintiffs story being that Lukus Look, starts out as an humble protagonist, to

celebrity and prosperity and then becomes disheartened with the wealth and

tosses his fortune on the ground and runs away and finally reaches enlightenment.


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Thus by creating a new version of Daisy-Head Mayzie, released on July         5th   2016

(Exhibits 28 & 42) the Defendants have incriminated themselves to Literary

Forgery     for   Counterfeit     Documentation,     under      18   U.S.C.         2318

(A)(iii)(iv)(vi)(4)(B)(i)(6)(D)(F), and thus have proven that the fist version

(Exhibit 8-a) is also a Literary Forgery for Counterfeit Documentation, under 18

U.S.C. 47, for Fraud and False Statement.




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                                                         a
                                  NOTES FROM THE EOITORS


                                 This edition of Daisy-He..'1d Mr1yzie by Dr. Seuss
                                  is unlike any other you may have seen.
                                       An earlier edition of Daisy-Head 1\•ft1yz:ie
                                  was published b}1 Random House in 1995 and re·
                                 mained in print um:iJ early 2CH6. If you compare
                                 the illustrations in the nvo books, you'll see a big
                                 differt:nce. If you compare rhe words in the two
                                 books, you'U also see a difference. (Not as big, but
                                 a difference, neverrhdess.)
                                       Hm.c ca11 this be?
                                       To explain, lee's look at Mnyzie's roots. They
                                 go back, we believe, to the l 950si when Ted
                                 Geisel-aka Dr. Seuss-wrote an animated fil.m
                                 script called Daisy-Head MaJzie. Along \'Vith the
                                 script, Ted drew sketches for the main scenes in
                                 the film and one finished ink drawing of Mayzie.




"Neither I, nor my lawyers, nor my husbands publisher (Random House) could

see any resemblance in the art, plot or language." - Statement of Audrey Geisel -

Exhibit 15.




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       CONTRADICTORY STATEMENTS BY THE DEFENDANTS
           AS TO THE ORIGIN OF DAISY-HEAD MAYZIE


Exhibit 2 - The official press release claims Daisy-Head Mayzie 1995-2016 was

            created in the 197o's as a screenplay and lost in the bottom of a

            drawer for 2on years, with a complete set of original drawings. Yet,

            the copyright (Exhibit 5) TX-4-042-306 says it was created in 1991.



Exhibit 3 - Shows that the alleged screenplay "Daisy-Head Mayzie" - used for the

            animated video has NEVER been registered to the Writers Guild of

            America, West.



Exhibit 5 - states that the Year of Creation for Daisy-Head Mayzie TX-4-042-306-

            book is 1991, that the Date of Publication -"Daisy-Head Mayzie" -

            book - December 30, 1994, and that the Date of Copyright

            Registration - "Daisy-Head Mayzie" - book April 1, 1995, yet Ted

            (Dr. Seuss) Geisel died on September 24th, 1991., and yet the 'The

            Pains of Being Pure at Heart' TXu-500-969 was registered on June 21

            1991.



Exhibit 10-b- On the back cover of "Oh Baby, The Places You'll Go!" written by

            Tish Rabe, "Daisy-Head Mayzie" is not listed as one of the 46 books

            written and illustrated by Dr. Seuss, yet "What Pet Should I Get?" is.



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Exhibit 6 - states that the Year of Creation for Daisy-Head Mayzie PA-700-090 -

            Animated video is 1994, that the Date of Publication - "Daisy-Head

            Mayzie" - animated video. February 5, 1995, and that the Date of

            Copyright Registration - "Daisy-Head Mayzie" - animated video

            is May 1, 1995, yet Ted (Dr. Seuss) Geisel died on September 24th,

            1991. And yet the 'The Pains of Being Pure at Heart' TXu-500-969

            was registered on June 21 1991.



Exhibit 7 - Inside Cover of "Daisy-Head Mayzie" - book 1995-2016, it reads,

          "Based on the animated television special created by Hanna-Barbera

            Cartoons Inc. in association with Tony Collingwood Productions."

            Yet in (Exhibit 2) in the original press release it states that Audrey

            found the screenplay with a complete set of original drawings.



Question - How can Daisy Head Mayzie book TX-4-042-306 , 1995-2016 be

            based on the video P A-700-090, if the video is created after the book?



Question - How can Daisy Head Mayzie book TX-4-042-306, be 20 years old,

            lost in the bottom of a drawer, and found after Seuss died if it is

            claimed to be created in 1991 on the official United States Copyright?

            (Exhibit 5). And yet in (Exhibit 42) it says that the original was

            created in 2016.



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Question - If Audrey Geisel found the original Daisy-Head Mayzie 1995-2016 in

            1991 after Dr. Seuss died why did it take her 966 days from the date

            of the alleged author's death to announce to the world on May 17,

            1994 that she had discovered 'the lost work' of Dr. Seuss? (Exhibit 2),

            after the Plaintiff received his acceptance to the Institute of

            Children's Literature on May 17, 1992? (Exhibit 1-b)



Exhibit 8 - On the back cover of the first version of Daisy-Head Mayzie it claims

            it was created in the 196o's, not the 197o's, as stated in the original

            press release (Exhibit 2), yet in the new version it claims it was

            created in the 195o's (Exhibit 28), yet the copyright (Exhibit 42) for

            the new version which is claimed to be the actual original states that

            it was created in 2016?



Exhibit 12- claims "As per our conversation the other day I'm enclosing a copy of

            the above-mentioned story by Dr. Seuss (DAISY-HEAD

             MA(Y)ZIE). We found this in our files. It seems that Ted submitted

            to us many moon ago" .... "In any case if Ted has forgotten about

            and/or lost his copy of DAISY-HEAD MAYZIE we are glad to have

            been able to recover the work:




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Question - Why would the lost work 'Daisy-Head Mayzie' be at Chuck Jones

                 Productions if the original was suppose to be lost in the bottom of a

                 drawer for   20   years at the time of this alleged FAX from Steven Paul

                 Leiva?



Exhibit   13 -   "Thanks so much for letter of January       24, 2001   with enclosures. I have

                 discussed "Daisy-Head Mayzie" with Ted, who informs me that he is

                 currently considering other uses for the story."



Question - Why would Ted (Dr. Seuss) be considering other uses of the story if it

                 was lost in the bottom of a drawer at his house? (Exhibit 2)



Question - Why would Herb Cheyette be in possession of the script as well as

                 Chuck Jones Productions, if there was only one original lost in the

                 bottom of a drawer for the past     20   years?



Exhibit 28- States, "Herb Cheyette - Ted's longtime agent - took the script and

                 sketches to Hanna-Barbera Productions, and a deal was made to

                 bring Mayzie to life. On February 5, 1995, the animated special

                 Daisy-Head Mayzie aired on television in the United States."




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Question - Why would Herb Cheyette need to take the script and sketches of

            Daisy-Head Mayzie to be completed by Hanna-Barbera Productions

            if Seuss already had a complete set of original drawing? (Exhibit 2)



Exhibit 14 - Index of "The Seuss, The Whole Seuss & Nothing But The Seuss" by

             Charles Cohen, published on PENGUIN RANDOM HOUSE -

            There is absolutely no mention of Daisy-Head Mayzie, the so-called

            'lost work' of Dr. Seuss.



Exhibit 15 - "Two books were published after his death, based on upon

             preliminary drafts done while he was alive, but never finished by

            him.



Question - Why would Audrey Geisel change her story from (Exhibit 2) and then

            state that Seuss never finished the work?



Exhibit 16 - "Mr. Steen sent us an email copy of his book. It had no recognizable

             similarity to the Dr. Seuss book in question. Further, we, and Mr.

            Geisel's agent, had been put to paper by him years before the Steen

            work was put together by him." , yet in (Exhibit 5) it claims to be

            created in 1991.




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Exhibit 17 - "The Manuscript for Daisy-Head Mayzie was created in the 196o's

             before Steen was born.".... "They're both written in rhyming meter,

             but so what? They're very dissimilar."'



Exhibit 18 - "What we have for Daisy-Head Mayzie are 19£0S Photostats "but no

             text."'



Exhibit 19 - "Daisy-Head Mayzie is the last children ·s book offlcially written by

             Dr. Seuss although he did not illustrate it.



Exhibit 23 - "The last "original" Dr. Seuss book, "Oh, the Places You11 Gor was

             released in 1990, and no one at Random House expected an

             unpublished book to appear 24 years after Mr. Geisel's death."'



Exhibit 28 - Claims Daisy-Head Mayzie was created in the 195o's, so they believe.

               To explain~ lef's look ac               roots~
  .a:,-.·.!itQ
   o             k.,, we            · t h.e 1·, 950
                            · ve:11 ro                     b'
                                                   _ si ~'':.:en T d
                                                                 ·1e:
   Geisel-aka 'Dr. Seuss-,w·rote an animated film.
   script called D:a·isJ-·Head .i\Jfayzie. Along \Vitb the
   script:~ ·Ted dre'v sket·ches :fbr the main scenes in
   the            a one finis          ink      \\ ing of Ma)tzie.
                                                   1




            This statement contradicts (Exhibit 2) that states Seuss supplied a

            complete sets of original drawings.

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Exhibit 28 - Claims that the 2016 version of Daisy-Head Mayzie is the real

            'original' by Dr. Seuss, using his real language illustrations and

            artwork, yet in the copyright (Exhibit 42) it states created in 2016.



Exhibit 30 - New Wikipedia for Daisy-Head Mayzie stating that Joe Mathieu

            is the un-credited illustrator of the first version 1995-2016.



Question - Why would they need to make a new version of the book and

            subsequently remove all of the infringing elements from the Plaintiffs

            work, if Seuss was in fact the original creator of the work?



Exhibit 31 - Claims that the 2016 version of Daisy Head Mayzie is drawn by Jan

            Geradi and not Dr. Seuss as claimed in the new version 2016 (Exhibit

            28), which also contradicts the official copyright (Exhibit 42) of the

            new version.



Question - Why would the new version of Daisy-Head Mayzie (Exhibit 28) claim

            that the images were originals, if the one image in (Exhibit 26)

            published on August 12, 1976 and later used in (Exhibit ro) published

            on November 25, 1997, are not at all the same? And (Exhibit 26) was

            created in 1976, not the 195o's as stated in (Exhibit 28).




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        FACTUAL ALLEGATIONS & CRONOLGY OF THE CASE:



67.   On the October of 1969 the cover of MAD MAGAZINE, was an image

with Alfred E. Neuman, sprouting flowers out of his head.

68.   On August 12th, 1976 the "Cat's Quizzer" came out by Dr. Seuss which

shows an image of a girl with a Daisy on her head drawn by Dr. Seuss on page 38.

69.   On or around January 8 -    IO,   1990, while attending the San Francisco Art

Institute Plaintiff started to create the unique work, "The Pains of Being Pure at

Heart," which was subject to protection under United States.

70.   On June 21, 1991, (Exhibit 1-a) Plaintiff received the United States

Copyright for "The Pains of Being Pure at Heart" TXu-500-969. Being 95 days

before Theodore Seuss Geisel (Dr. Seuss) passed away.

71.   On September 24, 1991, Theodore Seuss Geisel passed way.

72.   On May 17, 1992, (Exhibit 1-b) Plaintiff received a letter from The Institute

of Literature located at 93 Long Ridge Road, West Redding, CT 06896. The

letter stated that Plaintiffs Copyrighted story, "The Pains of Being Pure at

Heart" had been accepted for enrollment into The Institute of Children's

Literature. Also, it reads, "I noted your interest in illustrations and wanted to let

you know that we advise our students to submit manuscripts without

accompanying illustrations. Very frequently illustrations will limit the vision of

the editor and thus detract from the manuscript's chance to meet that editor's

requirements for acceptance. Choosing an illustrator for an accepted manuscript



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is the publisher's prerogative and one that is quite jealously guarded." Plaintiff

has the original letters from the Institute of Children's Literature.

73.   Starting on April 2, 1992 Plaintiff received seven letters from Alvin

Tresselt, asking him to sign up with The Institute of Children's Literature.

Tresselt had known Theodore Seuss Geisel, aka Dr. Seuss at least since 1948.

74.   On May 17, 1994, (Exhibit 2) Plaintiff learned from an article in the Orange

County Registrar that a work called, "Daisy-Head Mayzie" was to be published by

Random House. According to the article, Audrey Geisel, the widow of Dr. Seuss,

claimed to have found a 20-year-old manuscript in the bottom of a drawer; making

the so-called original written in the 1970s. Audrey Geisel stated that Dr. Seuss

wrote the story as a screenplay. She stated that he used typically whimsical verse

and supplied a "complete set of original drawings". No set of original drawings,

manuscripts or screenplays have ever been produced or seen the light of day. It is

believed that no such documents ever existed.

75.   On December 30, 1994 is the Date of Publication -"Daisy-Head Mayzie" -

book. (Exhibit 5)

76.   On February 5, 1995 Date of Publication - "Daisy-Head Mayzie" - animated

video. (Exhibit 6).

77.   On April 1, 1995 Date of Copyright Registration - "Daisy-Head Mayzie" -

book. (Exhibit 5).

78.   On May 1, 1995 Date of Copyright Registration - "Daisy-Head Mayzie" -

animated video. (Exhibit 6).



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79.   On or around January 5th, 1995, Plaintiff bought a copy of "Daisy-Head

Mayzie" (Exhibit 8) at Powell's Bookstore in Portland, Oregon. Upon reading the

alleged "lost work" of Theodore Seuss Geisel, Plaintiff noticed many striking

similarities between the stories. Notably, that both stories followed the same

plot. As well as, the main characters had flowers grow out their heads and other

characters had fake flowers on their heads, emulating the main characters'

appearances. Most obvious, is the fact that the lines, "And these are the words

that he read" in the Plaintiffs story "The Pains of Being Pure at Heart" TXu 500-

969 pg 35. And in the alleged "lost work" the sentence, "And these are the words

that poor Mayzie said," are substantially similar. The sentence "And these are the

words that poor Mayzie said," has been deliberately taken out of the New Version

of 'Daisy-Head Mayzie, published July 5th 2016 (Exhibit 28), which is now claimed

to be the "original", thus, it is clear that 1995-2016 version of Daisy-Head Mayzie

was not drawn or written by Dr. Seuss. Thus, it is naturally a fraud.

80.   On June 18, 1996- Plaintiff learned of Groiler Publishing in Danbury, CT

with his friend James Beuhring from a Dr. Seuss book advertisement at the

Rodger Wilco grocery store in Rohnart Park California. It was at that moment

Plaintiff started to figure out the nature of the case. Grolier is a publisher of Dr.

Seuss books and is located a few miles away from The Institute of Children's

Literature.

81.   On November 14, 1997 (Exhibit rn) "Oh Baby! The Places you'll go!!" by

Tish Rabe, it reads, "There's Daisy-Head Mayzie, and Cindy-Lou Who, Hunches



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and bunches and Lolla-Lee-Lou." The image shows a reversed image of from "The

Cat's Quizzer" (Exhibit 26), which reads, "What would you do if you sprouted a

Daisy? Would you run and see your dentist? Would you water it and grow more of

them and sell them to your friends? Or would you try to grow roses? They're

worth a lot more." "Oh Baby! The Places you'll go!!" by Tish Rabe was the first

Dr. Seuss book credited to Tish Rabe. Rabe has made over 60 books for

PENGUIN RANDOM HOUSE, using Dr. Seuss's characters.

82.   On November II, 2000, Audrey Geisel Stated in TIME MAGAZINE "I've

never gone out looking for anything," she says, speaking of the avalanche of

adaptations and licensing. "It all comes to me." The stated purpose of Dr. Seuss

Enterprises, LP is to exploit the works of Theodore Geisel in other media and

Geisel's decisions, notably to publish some material that her notoriously

perfectionist husband left unpublished, are difficult even for her to explain.

"Because everyone out there wanted it, .. she says, "and because Random House

wanted it." (Exhibit II).

83.   On    February    2nd,   2001    plaintiff filed   case   01-cv-02II-BB-ACT   in

Albuquerque, NM. In early May of 2001 Plaintiff mistakenly believed that he case

had been dismissed, soon after Plaintiff moved to Portland Oregon.

84.   On April 4, 2001- Cathy Ann Bencivengo e-mailed plaintiffs yahoo account

stating that she represented Dr. Seuss Enterprises and Mrs. Audrey Geisel in the

pending copyright litigation. She requested a copy of "THE PAINS OF BEING

PURE AT HEART." She followed up with a phone call telling Plaintiff that they



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wanted to settle out of court. She said over the phone that if Plaintiff provided

them with a copy of "THE PAINS OF BEING PURE AT HEART," they would

do their best to resolve this issue quickly without going to court.

85.   April 9,   2001-   Cathy Ann Bencivenga emailed Plaintiffs yahoo account

stating that she was aware that Plaintiff was Pro Se. She stated that DSE would

contest personal jurisdiction in the matter and there would be no formal discovery

until that question is resolved. She stated that she would very much appreciate,

however, if I would forward the story voluntary at that time. She told Plaintiff

over the phone that it would take several weeks to receive a copy of "THE PAINS

OF BEING PURE AT HEART" from the US Copyright office and that a quick

out of court settlement would happen sooner if Plaintiff sent a copy of the work

without an "order of discovery."

86.   Within a day Plaintiff emailed the story: "THE PAINS OF BEING PURE

AT HEART," and faxed a hard copy from the offices of TV-I Times in

Albuquerque, NM. Over several telephone conversations at this time Cathy Ann

Bencivengo told Plaintiff over the phone that DSE wanted to settle out of court.

At this time Plaintiff was living at the Campus Compact Apartments at           215   Yale

# 5 SE Albuquerque, NM. (Exhibit       16)   is the statement by Karl ZoBell admitting

that he and Bencivenga had in fact received the email and FAX.

87.   On April   16, 2001   Cathy Ann Bencivenga e-mailed Plaintiffs yahoo account

stating that she did not receive the e-mailed jpegs from TV-I in Albuquerque, or

my faxes. After I had emailed and faxed copies of my work: "THE PAINS OF



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BEING PURE AT HEART," she still claimed I had not sent it. Finally Cathy

Ann Bencivengo asked Plaintiff over the phone what an appropriate out of court

settlement would be.

88.   April 18,    2001,   Plaintiff phoned Cathy Ann Bencivengo and asked her what

the deal was. She said that she received 'THE PAINS OF BEING PURE AT

HEART'. She then stated that Theodor Geisel and Chuck Jones were working

together on '"DAISY-HEAD MAYZIE" in January of 1991.                She was trying to

convince Plaintiff that "DAISY-HEAD MAYZIE" had secured a copyright before

his book "THE PAINS OF BEING PURE AT HEART." At this point having

known that Plaintiffs book: "THE PAINS OF BEING PURE AT HEART," was

registered on June 21, 1991. The book: "DAISY-HEAD MAYZIE" was registered

on April   IO,   1995. The Videocassette was registered on May 1, 1995. Bencivengo

was trying to imply was that the Plaintiff was infringing on their copyright.

Cathy Ann Bencivengo must have thought that Plaintiff did not have access to

copyright registration information. She was hoping to try and convince Plaintiff

that all efforts to litigate against them were futile.

89.   May    2001 -   The Gray Cary law firm that represents Dr. Seuss Enterprises

contracted the law offices of Modrall, Sperling, Roehl, Harris & Sisk to represent

them in New Mexico.            They sent Plaintiff a huge pile of documents full of

confusing legal terms that basically stated that Plaintiff could not proceed with

litigation against them from New Mexico.




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90.   On August 4th 2001, Plaintiff, out of frustration, emailed all 500 lawyers at

Gray Cary Ware & Freidenrich LLP, with a coarse parody Dr. Seuss painting,

intended to make a mockery of Cathy Anne Bencinvengo (the lawyer for the Seuss

estate at the time), based on Judge O'Scannlain's ruling of parody case # United

States Court of Appeals, Ninth Circuit. DR. SEUSS ENTERPRISES, L.P.,

Plaintiff-Appellee, v. PENGUIN BOOKS USA, INC., a corporation; Dove

Audio, Inc., a corporation, Defendants-Appellants. No. 96-55619.          Decided:

March 27, 1997

91.   On December 12th 2001 - plaintiff filed a new lawsuit in Portland Oregon.

3:01-cv-01800-KI, because Plaintiff foolishly believed that the New Mexico case

had been dismissed, which it had not.

92.   On February 7, 2002 (Exhibit 12) Plaintiff went to the Willamette Week, in

Portland, Oregon and talked with Stacy Ison who contacted Herb Cheyette who

faxed her two letters, that are contradictory it the original statement in (Exhibit

2), as well as the copyrights. In the Letter from Steven Paul Leiva to Herb

Cheyette from an ICM fax, it reads: "As per our conversation the other day Jin

enclosing a copy of the above-mentioned story by Dr. Seuss (DAISY-HEAD

MAYZIE) We found this in our files. It seems that Ted submitted to us many

moon ago".... "In any case if Ted has forgotten about and/or Jost his copy of

DAISY-HEAD MAYZIE we are glad to have been able to recover the work."

93.   On February 7, 2002 (Exhibit 13) letter from Herb Cheyette to Steven Paul

Leiva from ICM fax "Thanks so much for letter of January 24, with enclosures. I



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have discussed "Daisy-Head Mayzie" with Ted, who informs me that he is

currently considering other uses for the story... (Exhibit 12) is a FAX from ICM

where Steven Paul Leiva claims that Daisy-Head Mayzie was found at Chuck

Jones's Productions and not lost in the bottom of a drawer for 20 years as stated

in (Exhibit 2).          (Exhibit 13) is a FAX from ICM- where Herb Cheyette claims

that they already have a copy of Daisy-Head Mayzie, which also contradicts

(Exhibit 2). Thus, at this point in their story, there are now two copies of DHM

floating around and yet the original is still lost in the bottom of a drawer in Ted's

office.

94.       On Dec 14, 2001 - Judge Garr M. King the US District Court Judge stated

that Plaintiff had to prove he was in a low income category because he could not

afford the regular fees associated with filing lawsuits.             He also stated that

Plaintiffs claim was incomplete and Judge King gave Plaintiff 30 days to file an

amended complaint.

95.       On Jan   11,    2002- Plaintiff provided proof of his low-income status and

amended his Civil case # CV01-1800KI.

96.       On Jan 23, 2002- Judge Garr M. King reinstated the case but stated that

Plaintiff could proceed civil litigation against five defendants only.               Audrey

Geisel, Turner Home Entertainment, Random House, Dr. Seuss Enterprises, and

Hanna Barbara Cartoons. Plaintiff had changed addresses at this time and did

not receive the mail notifying him that the case being reinstated. His roommates

did not inform him of any mail.



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97.    On Feb 14, 2002 - Plaintiff moved to Toronto, unaware that case # CV01-

1800KI had been re-opened. He did not have money for lawyers and it seemed all

the lawyers he contacted were either afraid of Gray Cary law firm or had a

"conflict of interests."

98.    On June 13th, 2002 case 3:01-cv-01800-KI dismissed without prejudice.

99.    On June 28, 2002 - Plaintiff took the Greyhound bus from a wedding in

South Carolina back to Portland, OR. Plaintiff went to Joe Conklin's house the

next day and learned that the case had been reinstated and had been thrown out

again due to plaintiff having failed to complete service within 120 days after judge

King reinstated the amended complaint on January 23, 2002.

100.   On June 18, 2003 Cases Docket 1:01cvoo211-BB-JCA was dismissed without

prejudice by the Honorable Judge Bruce Black. (Doc 1, Exhibit 43, T-231-15)

101.   On September 9th 2003, Plaintiff, out of frustration believing that the

Federal Courts had failed him, emailed Karl ZoBell a copy of his play "The

Tragical History of Audrey Geisel' which was honestly intended to infuriate Mr.

ZoBell and make a mockery of him, his family and his associates, and all those

who created the fake book Daisy-Head Mayzie 1995-2016. (Doc 1, Exhibit 44, T-

231-15), the play was flawed, for it lacked the characters Cathy Goldsmith, Joe

Mathieu & Tish Rabe.

102.   On November 5th 2003, the Plaintiff was arrested on two counts of extortion

by W. E. Skip Stevenson of the San Diego Police Department in Portland

Oregon. Stevenson had edited emails the emails of Cathy Ann Bencivengo and



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deliberately distorted dated and facts pertaining to the lawsuit in New Mexico

(pages 39-43 of Docket 1, T-231-15) by stating that at the time I received the email

from Cathy Ann Bencivengo where she was as well as acting in collusion with

Audrey Geisel, Karl ZoBell and Cathy Ann Bencivengo, in order to attempt to

silence Plaintiff, from putting on his play and exposing the Defendants to their

fraud of the fake Dr. Seuss book. Officer Stevenson bamboozled the Portland

Police department in order to have Plaintiff arrested.   Plaintiff spent eight days

in the Justice Center after refusing to sign extradition, and was released on a

$rno,ooo.oo bail. Yet the fact remains that the defendants distorted the evidence

assuming that Plaintiff did not have the original e-mails from Cathy Anne

Bencivengo, the acting attorney for the defendants at the time, (T-231-15 Docket 1

Exhibits 35, 36, 37, 38,), in order to have Plaintiff falsely arrested on the 5th of

November 2003., just three days before ·The Cat In The Hat' movie was released

staring Mike Meyers.

rn3.   FACT: Mr. Steen filed his civil case 1:01-cv-0211 on FEBRUARY 22nd

2001. Mr. Steen filed his suit Pro Se representing himself. Soon after the

defendants were served, Charles Steen was contacted first by Cathy Ann

BENCIVENGO of the Gray Cary Law Firm, which represents Dr. Suess

Enterprises. Steen's request for $2,500,250.50 was a reply to Cathy Ann

Bencivengo's request for offering what he thought would be adequate for an out

of court settlement on APRIL 16th , 2001. Mr. Steen's civil case 1:01-cv-0211 was




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not dismissed until JUNE 18th 2003, being a total of 793 days after

BENCIVENGO and STEEN's email exchange on APRIL 16th , 2001.

104.   The Defendants stated that Plaintiff had contacted Audrey Geisel, which

Plaintiff never ever did, in order to try and prevent the Plaintiff from refilling the

first case 01-cv-0211-BB-ACT, after it is was dismissed without prejudice on 18-

06-2003, or the second case 3:01-cv-01800-KI as well as producing his play; which

Plaintiff later did (Exhibit 18) and shown in (Dock 1, Exhibits 70, 71 & 72, T-231-

15). It is clear that the emails that the defendants used against Plaintiff were from

Cathy Anne Bencivengo, the acting attorney at the time for the defendants; now a

Magistrate Judge in San Diego. (Doc 1, Exhibits 35, 36, 37 & 38, T-231-15) The

defendants claimed that the case 01-cv-0211-BB-ACT had been dismissed, which it

had not (Exhibit 34), it was 'dismissed without prejudice' on 18-06-2003. The

defendants also claimed Plaintiff then threatened Audrey Geisel (which plaintiff

clearly did not) as DSE's reason for Plaintiffs wrongful and malicious arrest.

Plaintiff was later found Not Guilty (Doc 1, Exhibit 68, T-231-15) on April 17

2006. The fact that the emails from Cathy Anne Bencivengo, the acting attorney

for the defendants at the time, were edited and used against Plaintiff as extortion

346. (1), in which they (Doc 1, Exhibits 35, 36, 37 & 38, T-231-15) were edited by

the police officer W.E. "Skip" Stephenson (Doc 1, Exhibit 45, T-231-15) after

reviewing them on behalf of the defendants clearly shows Obstruction 64.(1), and

the fact that the emails from Cathy Anne Bencivengo, the acting attorney for the

defendants at the time, to me between the dates of 04-04-2001 & 18-04-2001 and


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the fact that 01-cv-02n-BB- ACT was dismissed 'without prejudice' on 18-06-2003

being a total of 793 days after the day that Bencivego responded to my e-mail in

which Plaintiff requested an out of court settlement of $2,500,250,50, clearly

shows that the defendants themselves committed concealment of evidence.

Bencivengo's perfidious actions were brought out through anger toward Plaintiff

because the plaintiff thoroughly mocked and ridiculed Bencivengo in his play, and

because she bluffed over the telephone and told the plaintiff that they would settle

back in April 2001.

105.   On February 24, 2004 (Exhibit 14) Index of "The Seuss, The Whole Seuss

& Nothing But The Seuss" by Charles D. Cohen, published on PENGUIN

RANDOM HOUSE, is intended to be the comprehensive list of all of the works

created by Theodore Geisel (Dr. Seuss). NOTE: The so-called 'original' lost work

"Daisy-Head Mayzie" is not even included in index.

106.   On March 2, 2004 Plaintiff, out of fear, foolishly plead guilty to one count

of extortfon, for threatening to EXPOSE Audrey Geisel to disgrace in San Diego,

only because his layer J. Tony Serra wanted $100,000.00 to go to trial, two days

after spending 12 hours in 'book and release'. NOTE: Plaintiffs lawyer was the

one and only infamous J. Tony Serra, who later went to jail for tax evasion and

whose brother Richard received a million dollar grant from the Museum of

Contemporary Art in which Audrey Geisel and Karl ZoBell donated large sums of

money too.    NOTE: Plaintiff never contacted Audrey Geisel.

107.   On April 22, 2004 (Exhibit 15) Audrey Geisel changed her story despite



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having alleged that the work "Daisy-Head Mayzie" based upon a completed (but

lost and recovered by herself) screenplay, complete with illustrations by Dr.

Seuss, then Audrey Geisel alleged that the work was based on a "preliminary

draft" of a book stating, .. Two books were published after his death, based on

upon preliminary drafts done while he was alive, but never finished by him ...

[This statement contradicts Exhibit 2 as well as Exhibit 8.] Neither I, nor my

attorney's, nor my husband's publisher (Random House) could see any similarities

in the art, plot or language." (referring to Plaintiffs story 'The Pains of Being

Pure at Heart')

108.   On April 22, 2004 (Exhibit 16) Karl ZoBell stated that, "Mr. Steen sent us

an email copy of his book. It had no recognizable similarity to the Dr. Seuss book

in question. Further, we, and Mr. Geisers agent, had been put to paper by him

years before the Steen work was put together by him." This statement contradicts

(Exhibit 15 & 20).

109.   On August 21, 2004 (Exhibit 17) The San Diego Union-Tribune: Cathy

Anne Bencivenga said, .. The Manuscript for Daisy-Head Mayzie was created in

the 196o's before Steen was born."......They're both written in rhyming meter, but

so what? They're very dissimilar ." This statement contradicts (Exhibit 2) which

states that the book was created in the 1970s. NOTE: Audrey Geisel and Karl

ZoBell never once mentioned the book in question being Daisy-Head Mayzie

1995-2016, in their Statements to the Court so as to not to cause an independent

investigation and incriminate themselves on charges of fraud.



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110.   On April 1ih, 2006     (Exhibit 68, case - T-231-15) Plaintiffs record was

expunged, and found NOT GUILTY of extortion with Michael T. Maloney

acting as council. It was Michael T. Maloney who provided plaintiff with the

statements by Audrey Geisel and Karl ZoBell (Exhibits 15 & 16).

111.   On May 1, 2007, Plaintiff produced his play 'The Tragical History of

Audrey Geisel' in Portland Oregon at the Someday Lounge, with a cast of 28.

112.   On May 8, 2007 (Exhibit 18) the Oregonian - Lynda Claassen of the UCSD

Mendavelille Special Collections, is quoted as saying, "What we have for Daisy-

Head Mayzie are 1950s Photostats but no text." This statement contradicts

Exhibit 2, 12, 13, 15 & 16.

113.   On October 2nd 2007 Plaintiff filed case 6:07-cv-01004-MV-ACT in

Albuquerque New Mexico.

114.   On 18-01-2008. ORDER denying plaintiffs Application to Proceed In

Forma Pauperis and Dismissing Complaint by Judge Martha Vazquez. "Steen vs

Serra : 6:07-cv-01004-MV-ACT case dismissed.

115.   On February 20th 2013 Plaintiffs filed to reopen case 1:01-cv-00211-BB-ACT,

Judith C. Herrera is now the acting Judge.

116.   On February 26, 2014 "New window into Dr. Seuss' genius" where Philip

Nel "The Dr. Seuss Scholar" is quoted as saying," I've always wondered how much

of this book is Seuss and how much is Hanna-Barbera," "These new materials will

help answer these questions." (Exhibit 20) Philip Nel, the Seuss scholar, said he

is particularly interested in seeing the original ink drawings for "Daisy-Head



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Mayzie," published four years after the author died. (Exhibit 123, T-231-15)

n7.    On February 18, 2015 Plaintiff filed case T-231-15 in the Federal Court of

Canada, which coincidently happened to be the exact same day that it was

announced that the Book "What Pet Should I Get?" was to be published.

n8.    On July 17, 2015, (Exhibit 22) - "The Enterprise Behind Dr. Seuss" -

Publishers Weekly, New books over the past 2£ years have included "Daisy-Head

Mayzie" (1995) and Hooray for Diffendoofer Day! (1998), which were based on

Geisel's sketches and notes. "This statement contradicts (Exhibit 2) stating that it

was complete in both text and illustrations.

n9.    On July 17, 2015, (Exhibit 20) - "The Enterprise Behind Dr. Seuss" -

Publishers Weekly, "Random House and Dr. Seuss Enter-prises work hand-in-

hand on every aspect of the Dr. Seuss legacy, from publishing to marketing to

scheduling. We're true partners," explains (Susan) Brandt at DSE. '"/ consider

them my East Coast office. I talk to them, Tm not kidding, a million times a day.

We're that linked."

120.   On July 21, 2015 (Exhibit 23) - "Dr. Seuss Book: Yes, They Found it in a

Box" New York Times, it reads, "The last "original" Dr. Seuss book, "Oh, the

Places You11 Go!" was released in 1990, and no one at Random House expected

an unpublished book to appear 24 years after Mr. Geisel's death." (This statement

contradicts Exhibit 2). The only person still at the company who had worked

directly with Dr. Seuss was Cathy Goldsmith, the designer and art director on his

last six books, (as well as the first version of Daisy-Head Mayzie 1995-2016, What



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Pet Should I Get? 2015, and new version of Daisy-Head Mayzie 2016, Exhibit

29). Within a week of learning of the so-called recovered manuscript, she was on a

flight to San Diego ... She's our lasting link to Dr. Seuss,"" said Susan Brandt, the

President of Licensing and Marketing for Dr. Seuss Enterprises.

121.   On February 11t\ 2016 The Plaintiff received a copy of the "Cat's Quizzer""

by Dr. Seuss which shows an images of a girl with a Daisy on her head drawn by

Dr. Seuss Image from "The Cat's Quizzer"" page 38, published on August 12t\ 1976

(Exhibit 26).

122.   On February 12th, 2016, the Plaintiff discovered (Exhibit 27) Cover of MAD

MAGAZINE, with Alfred E. Neuman, sprouting flowers out of his head,

published October 1969, predating (Exhibit 26) by 7 years, thus showing that the

flower sprouting from the head is not a defense of originality on part of the

Defendants.

123. July 5th 2016 (Exhibit 28) is The New Version of Daisy-Head Mayzie in which

all elements of the plagiarized concepts being Art and Textual Expression i.e.

language have been deliberately taken out so as to cover up their fraud, and they

have now implicated Hana-Barbera as the plagiarist. This a clear indication that I

the plaintiff was plagiarized and that everything that the defendants have done to

plaintiff in the past such as distorting facts in order to have plaintiff wrongfully

arrested and smearing plaintiffs reputation in the media were all done in order to

scare plaintiff from continuing his legal rights, and uncovering the truth.




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                                 CONCLUSION



124.   Plaintiffs story "The Pains of Being Pure at Heart" was Copyrighted 95

days before Dr. Seuss died and 1,061 days before Audrey Geisel claimed to have

found "Daisy-Head Mayzie" (Exhibit 2). Plaintiffs story was the first story to have

images with "Others wearing fake flowers on their heads so as to emulate the main

character," and the fact that in "The Cat's Quizzer" (1976), page 39 (Exhibit 26),

the image of the girl with a flower on her head has no name, and yet in Tish

Rabe's work "Oh Baby, The Places You'll Go!!" she used the name "Daisy-Head

Mayzie," and the fact that the main character's name in the Plaintiffs work is

Lukus Loo, and in "Daisy-Head Mayzie" her real name is Mayzie McGrew, it

appears logical that Tish Rabe named the character "Daisy-Head Mayzie," and

took elements from both the Plaintiffs work "The Pains of Being Pure at Heart"

and David Small's "Imogene's Antlers" and created "Daisy-Head Mayzie" yet she

was sloppy and paraphrased "And these are the words that he read," into "And

these are the words that poor Mayzie said." Believing that the Plaintiff did not

own the copyright before submitting his wok to the Children's Institute of

Children's Literature where Tish Rabe is believed to have been an instructor.

Which is why in the New Version of Daisy-Head Mayzie (Exhibit 29), this

sentence and all of the similarities have been deliberately taken out, so that the

Defendants can attempt to        avoid the penalties of continued copyright

infringement under 17 USC 501 (a) and the Berne Convention Article 2(5).



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NOTE: (Exhibit 7) Inside Cover of "Daisy-Head Mayzie" - book, it reads, "Based

on the animated television special created by Hanna-Barbera Cartoons Inc. in

association with Tony Collingwood Productions." That statement is clearly false

and impossible, being that the "Daisy-Head Mayzie" - "book" is created, published

and registered before the "Daisy- Head Mayzie" - "animated video" according to

the United States Copyright Office (Exhibits 5 & 6), which clearly proves that the

Defendants have attempted to deliberately conceal the fact that both the book and

the animated television special were derived from, and based upon and infringed

the Plaintiffs Copyrighted work. Yet, Cathy Goldsmith's NOTES FROM THE

EDITORS on page 217 (Exhibit 29), which states that the New Version is the

original, created in the 1950s and in (Exhibit 30), it states that Joe Mathieu who

was "One Of The Defendants in T-231-15" is in fact the un-credited illustrator of

the first version 1994-2016, being admittedly a Fake.          Also, why would the

Defendants have Joe Mathieu as the illustrator if Dr. Seuss had provided a

complete set of original drawings as stated in (Exhibit 2)?           Also, by not

registering Joe Mathieu on the copyrights for the book (Exhibit 5) and the video

(Exhibit 6), the defendants have incriminated themselves to 17 U.S.C. 1202 (2),

being Integrity of Copyright Management Information.

125.   The Amazon reviews for "Daisy-Head Mayzie" (Exhibit 9) are utterly

laughable, for everyone who left a statement claims that they believe the book to

be a total hack.



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126. (Exhibit 18), corresponds with what Philip Nel stated in (Exhibit 20), which

contradicts (Exhibit 2), which states that the manuscript was lost for 20 years in a

bottom of a drawer with a "complete set of original drawings," which contradict

(Exhibits 12 & 13), which claim that "Daisy Head Mayzie" was at Chuck Jones's

Production, "lost" in a file, which contradict (Exhibit 15) where Audrey states,

"based on upon preliminary drafts done while he was alive, but never finished by

him," which contradict ZoBell's statement in Exhibit 16 "Further, we, and Mr.

Geisel's agent, had been put to paper by him years before the Steen work was put

together by him." Which contradict Exhibit 17 where Bencivengo states, "The

Manuscript for Daisy-Head Mayzie was created in the 196o's before Steen was

born." This also contradicts (Exhibit 2) making Daisy 30 years old in the bottom

of a drawer and not 20, which then, again contradicts (Exhibit 18), which ALL

contradict the Copyrights of Daisy Head Mayzie (Exhibits 5 & 6), which

contradict (Exhibit 7); which all contradict (Exhibits 29 & 30).

127.   The fact that not one of the statements from the Defendants (Exhibits 3, 4,

5, 6, 7, 8, 9, n, 12, 12, 14, 15, 16, 17, 18, 19, 20, 21, 28, 29 & 30) is consistent to the

first (Exhibit 2), nor with each other, clearly points to fraud and intentional

copyright infringement 17 USC 501 of the Plaintiffs work.

128.   The fact that Philip Nel, the Dr. Seuss Scholar who is published on

Random House is quoted as saying, that Seuss "didn't create final artwork or text"

(Exhibit 123, T-231-15) is contradictory to the very first statement by Audrey

Geisel about "Daisy-Head Mayzie." is quoted, "that Dr. Seuss wrote the story as a



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screenplay. He used rypically whimsical verse and supplied a "complete set of

original drawings." (Exhibit 2) And in (Exhibit 19) Wikipedia states, '"Daisy-Head

Mayzie is a children's book written by Dr. Seuss and illustrated in his style." This

statement contradicts (Exhibit 18) in which Lynda Claassen stated .. What we have

for Daisy-Head Mayzie are 1910s Photostats but no text." which contradicts

Cathy Ann Bencivengo who sated, '"The Manuscript for Daisy-Head Mayzie was

created in the 196o's before Steen was born." (Exhibit 17), which contradict

(Exhibits 12 & 13), which are claimed to be in a file lost at Chick Jones

Productions, which contradict (Exhibits 15 & 16) being that statements of Audrey

Geisel and Karl ZoBell, which contradict the copyrights (Exhibits 5 & 6) as well

as the statement in the book (Exhibit 7).

129.   The infringement of "The Pains of Being Pure of Heart" into '"Daisy-Head

Mayzie" is ongoing, so long as sales of the book are being made, these

infringements hold true. Case 2:09-cv-00072-GW-MAN: The lower courts agreed

with MGM, but the Supreme Court took the case and ruled in favor of Petrella,

saying that ]aches did not bar her claim since the infringement was ongoing.

130.   Defendant Joe Mathieu is now credited as being the un-credited illustrator

of the 1995-2016 Work by the Defendants (Docket 33, Exhibit 30, page 226, T-231-

15), in which he was not credited in (Docket 5, Exhibit rn3-b, page 37, T-231-15)

filed on April   ih   2015. Joe Mathieu is not mentioned on the video (Exhibit 8-b),

nor on the copyright of the video (Exhibit 6) which was allegedly the inspiration

for the first book (Exhibit 5), thus it is obvious that the Defendants did knowingly



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and willfully defraud the public with the first version of Daisy-Head Mayzie,

claiming it to be an original Dr. Seuss book, as Joe Mathieu is not given credit in

the book as well.

131.   Copyright Infringement may occur not only when the entirety of       a work is
copied, but even when the infringing work copies "the same concepts, thought

patterns and even sentence structure," as the Copyrighted work.

132.   The alleged screenplay "Daisy-Head Mayzie" - animated video has NEVER

been registered to the Writers Guild of America, West (Exhibit 3).

133.   Notice that (Exhibit 4) lists the English actor Tim Curry as one of the

authors, which has since been removed from the Internet, and all mention of his

character Finagle has been removed from the new version of the book as well,

(Exhibits 29 & 30).

134.   (Exhibit 29) - Cathy Goldsmith on PBS News Hour July 28, 2015, does not

even mention the new version of Daisy-Head Maye and states that there is

nothing new coming out from Dr. Seuss.

135.   (Exhibit 4-b) - shows an image of the character Finagle from the original

version of Daisy-Head Mayze and the actor Tim Curry who voiced Finagle as well

as was mentioned as one of the authors in (Exhibit 4). The character Finagle has

since been rno% removed from the New Version of the book (Exhibit 29).

136.   (Exhibit 30) is the New Wikipedia for Daisy-Head Mayzie admitting that

Joe Mathieu was the uncredited illustrator of the first version as previously

denied and contradicted by the Defendants in (Exhibits 2, 8, 12, 13 &17).



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137.   (Exhibit 31) shows that; the new 2016 version of Daisy-Head Mayzie, is

drawn by Jan Geradi, which contradicts (Exhibit    2   and Exhibit 30).

138.   (Exhibit 32) is the new Amazon listing for the new version of "Daisy-Head

Mayzie".

139.   (Exhibit 33) - Cover of 'WHAT PET SHOULD I GET?'

140.   (Exhibit 29) being the new version of Daisy-Head Mayzie published on July

5th, 2016 is the attempt at to cover up the flaws in the Defendants previous

statements, yet it only shows more blatant fabrications in regards to the creation

of the fake book Daisy-Head Mayzie, (Exhibits 2, 8, 12, 13 &17), such as to when it

was created and who created it.

141.   (Exhibit 29) NOTES FROM THE EDITOR states that after Seuss died

on September 24th 1991, that Herb Cheyette then took the script to Hana Barbera.

Yet in (Exhibit 12) states that Steven Paul Leiva          (wrote Herb Cheyette on

January 24, 1991 yet the FAX reads from ICM February 7, 2002) claiming that at

Chuck Jones Productions they had found a copy of Daisy-Head Mayzie that Ted

Submitted to them 'Many Moon Ago', he then writes, "In any case, if Ted has

forgotten about and I or lost his copy of DAISY-HEAD MA(Y)ZIE, we are glad

to have been able to recover the work." Sent from IMC on Feb 2nd, 2002 to the

Willamette Week, in Portland Oregon. Meaning, that Daisy-Head Mayzie was

NOT lost in the bottom of a drawer for 20 years as (Exhibit 2) claims or 40 years

as (Exhibit 29) claims. (Exhibit 29) states that Hana Barbera (being Time

Warner) added the Cat in the Hat, yet (Exhibit 2) states that The Cat in The Hat



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was already with Seuss's original drawings of the manuscript, when Audrey

discovered it lost in the bottom of a drawer, before it was to be made into an

animated cartoon.      Thus, the people at Random House are now implicating

Hana-Barabera for the plagiarized elements, when Joe Mathieu (who draws for

Dr. Seuss Enterprises) is admittedly the artist (Exhibit 30). These facts alone

contradict (Exhibit   2)   in which Audrey Geisel clearly states, that she "found a   20


year old manuscript in the bottom of a drawer as she was renovating her house in

La Jolla. Dr. Seuss wrote the story as a "screenplay". He used typically whimsical

verse and supplied a "complete set of original drawings".          That it "will be made"

into an animated cartoon. Narrated by the Cat in the Hat. "Daisy-Head Mayzie"

is the story of a girl who suddenly finds a daisy growing out her head. She is

taunted by schoolmates, chased by bees and scrutinized by those eager to solve

her "problem" After an agent talks her into cashing in on her notoriety, Mayzie

discovers the perils of overnight success and concludes that love means more than

fame and glory. Daisy "will be published" next winter by Random House and "will

be made into an animated cartoon". Random House executive Janet Schulman

said the author's files contain much other unpublished material. Thus the New

Version of the book Daisy-Head Mayzie implicates the Defendants to intentional

Fraud with the first fake version and they should be indicted and sent to jail.

142.   Cathy Goldsmith has been the art director for both versions of 'Daisy-Head

Mayzie' (Exhibit 8 & 29), as well as for 'What Pet Should I Get?" which based

upon information and belief it is believed by the Plaintiff that "What Pet Should I



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Get?" is based off of "What Cat Is That?" by Tish Rabe and drawn by the artist

Aristides Ruiz who has drawn the illustrations for over 30 new Dr. Seuss books.

143·   On March   IIrh   2016 In the new version of the book the defendants have

taken out ALL of the similarities from plaintiffs story 'The Pains of Being Pure

at Heart' as listed in Plaintiffs Motion Record T- 231-15, filed, Docket number 28,

as well as the sentence"And these are the words that poor Mayzie said." Just like

in my story, "And these are the words that he read," have been deliberately taken

out, so as to attempt to cover up and limit their joined liability in their willful

infringement.

144·   Audrey Geisel (the widow of Dr. Seuss) claimed to have discovered "Daisy-

Head Mayzie" at the bottom of a drawer after Dr. Seuss died. She claimed that

the book was 20 years old (being created in the 1970s). She also claimed that she

found a 'complete set of original drawings' and that the book was "Narrated by

Seuss' most beloved character The Cat in the Hat." She also states "Daisy-Head

Mayzie will be published next winter by random House and will be made into an

animated cartoon." (Exhibit 2). Those statements contradict (Exhibit 29), which

reads, "Hana-Barbera also added new characters and plot twists to Ted's script,

including the Cat in the Hat as narrator of the story." As stated above Defendant

Audrey Geisel claimed that the Cat in the Hat was already a character in the story

before Hana-Barbera had anything to do with the book or the video. (Exhibit 2).

145·   (Exhibit 7) Inside Cover of "Daisy Head Mayzie" - book, it reads, "Based

on the animated television special created by Hanna-Barbera Cartoons Inc. in



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association with Tony Collingwood Productions." That statement is clearly false

(impossible), being that the "Daisy-Head Mayzie - book" (Exhibit 5) is created,

published and registered 'before' the "Daisy -Head Mayzie -animated video

(Exhibit 6,) according to the United States Copyright Office, which shows

beyond any hesitation whatsoever, that the defendants have clearly committed 18

U.S. Code § 1346 - Definition of "scheme or artifice to defraud" by the creation of

the New Version of Daisy-Head Mayzie in which they took out all of the

similarities between the Plaintiffs original work, and thus have exposed

themselves to 15 U.S. Code § 45 - Unfair methods of competition unlawful;

prevention by Commission (a)DECLARATION OF UNLAWFULNESS; POWER TO

PROHIBIT UNFAIR PRACTICES; INAPPLICABILITY TO FOREIGN TRADE

 (1) Unfair methods of competition in or affecting commerce, and unfair or
deceptive acts or practices in or affecting commerce, are hereby declared
unlawful. (2) The Commission is hereby empowered and directed to prevent
persons, partnerships, or corporations, (A) The Commission may commence a
civil action to recover a civil penalty in a district court of the United States
against any person, partnership, or corporation which violates any rule under this
subchapter respecting unfair or deceptive acts or practices (other than an
interpretive rule or a rule violation of which the Commission has provided is not
an unfair or deceptive act or practice in violation of subsection (a)(1)) with actual
knowledge or knowledge fairly implied on the basis of objective circumstances
that such act is unfair or deceptive and is prohibited by such rule. In such action,
such person, partnership, or corporation shall be liable for a civil penalty of not
more than $10,000 for each violation. (2) with actual knowledge that such act or
practice is unfair or deceptive and is unlawful under subsection (a)(1) of this
section. In such action, such person, partnership, or corporation shall be liable
for a civil penalty of not more than $10,000 for each violation. (3) The
Commission may compromise or settle any action for a civil penalty if such
compromise or settlement is accompanied by a public statement of its reasons and
is approved by the court.


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146.   (Exhibit 12) letter from Steven Paul Leiva to Herb Cheyette from Chuck

Jones Productions dated January 24 1991 "As per our conversation the other day

I'm enclosing a copy of the above mentioned story by Dr. Seuss (DAISY-HEAD

MAYZIE) We found this in our files. It seems that Ted submitted to us many

moon ago" ...... In any case if Ted has forgotten about and/or lost his copy of

DAISY- HEAD MAYZIE we are glad to have been able to recover the work."

This statement contradicts (Exhibit 2) being the so-called 'original' manuscript

was to be found in the bottom of a drawer lost for 20 years making it created in

the 197o's, not lost and them re-found at Chuck Jones Productions, before Dr.

Seuss died. This 'alleged letter was FAXED to Stacy Ison of the Willamette

Week on February ih 2002 during plaintiffs copyright case in Portland Oregon.

147.   (Exhibit 13) letter from Herb Cheyette (the agent for Dr. Seuss whom the

book is dedicated) to Steven Paul Leiva from ICM dated January 20, 1991 fax

"Thanks so much for letter of January 24th, with enclosures. I have discussed

"Daisy-Head Mayzie" with Ted, who informs me that he is currently considering

other uses for the story ... This statement contradicts (Exhibits 2 & 13), for how

could the so-called manuscript be in the possession of Herb Cheyette, whom the

book is dedicated to (Exhibit 7) and be at Chuck Jones Productions, as well, if

there was only one 'original' manuscript lost in the bottom of a drawer at Dr.

Seuss' residence for over 20 years? Absurd. This 'alleged' letter was FAXED to

Stacy Ison of the Willamette Week on February         ih   2002 during plaintiffs



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copyright case in Portland Oregon. NOTE: both Chuck Jones and Ted Geisel

would have been alive during the time of this fraudulent correspondence between

Steven Paul Leiva & Herb Cheyette. Chuck and Ted would not have had Herb

Cheyette or Steven Paul Leiva do their talking for them, when they were known

to be very close friends from 1943 when they collaborated on 'Privet Snafu'. Ted

did all of his negotiations himself up until his death, after which Audrey Geisel

and Karl ZoBell took control of his property and created Dr. Seuss Enterprises,

L.P. Theodore Seuss Geisel (1904-1991) & Chuck Jones (1912-2002)

148.   (Exhibit 15) statement of Audrey Geisel, "Two books were published after

his death, based on upon preliminary drafts done while he was alive, but never

finished by him." .... "Neither I, nor my attorney' s, nor my husband' s publisher

(Random House) could see any resemblance in art, plot or language."

149.   (Exhibit 16) statement of defendant Karl ZoBell, "Mr. Steen sent us an

email copy of his book. It had no recognizable similarity to the Dr. Seuss book in

question. Further, we, and Mr. Geisel's agent, had clear proof that the Dr. Seuss

book in question had been put to paper by him years before the Steen work was

put together by him."    NOTE: If Karl ZoBell and Audrey Geisel have 'clear

proof I ask that the Defendants provide the 'original' manuscript of Daisy-Head

Mayzie under DOCUMENTARY EVIDENCE, See's. 19-36 -. To be verified by a

forgery expert from the FBI, with Ted Geisel's fingerprints & his DNA in front

of a Judge and Jury, or at a hearing under sworn testimony under penalty of

perjury. The 'original manuscript' has NEVER been made available for public



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inspection.    It is very unlikely that there is an original considering the

contradictory statements by the defendants and their associates.

150.   (Exhibit 18) "What we have for Daisy-Head Mayzie are 1950s Photostats,

"but no text," (Lynda) Claassen says. Lynda Claassen is the curator at UC San

Diego's Dr. Seuss Collection, which contains original drawings, sketches, proofs,

notebooks, manuscript drafts, books, audio- and videotapes, photographs, and

memorabilia. The approximately 8,500 items in the collection document the full

range of Dr. Seuss's creative achievements, beginning in 1919 with his high school

activities and ending with his death in 1991. Claassen stated that there is 'NO

TEXT', thus no manuscript of the alleged 'lost work' of Dr. Seuss. Claassen's

statement contradicts (Docket 33, Exhibits 2, 5, 6, 7, 12, 13, 15 & 16), clearly

showing fraud on part of Audrey Geisel, Steven Paul Leiva, Herb Cheyette

(deceased), Karl ZoBell & Cathy Anne Bencivengo.

151.   (Exhibit 22) - "The Enterprise Behind Dr. Seuss" - Publishers Weekly,

"Random House and Dr. Seuss Enter-prises work hand-in-hand on every aspect of

the Dr. Seuss legacy, from publishing to marketing to scheduling. We're true

partners," explains (Susan) Brandt at DSE. "I consider them my East Coast

office. I talk to them, I'm not kidding, a million times a day. We're that linked."

152.   There is no mention of the 'lost work' Daisy-Head Mayzie in "The Seuss,

The Whole Seuss & Nothing But The Seuss."            Published by Random House,

published February 24th 2004. (Exhibit 14).




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153.   All of the evidence in this case, excluding Exhibits 1-a & 1-b, have been

provided by the Defendants themselves; and yet they have only seceded in

destroying their own credibility. And mostly in the copyright for the new version

in which they claim is the original it clearly states that the work in question was

created in 2016 (Exhibit 42) being 24 years after Dr. Seuss died.

154.   Everything the Defendants have done, to the Plaintiff, in the past was to

simply to discredit the Plaintiff in order to cover-up the numerous facts that the

Defendants have willfully, and continuously committed ongoing Copyright

Infringement. Plaintiff has a right to receive revenues, proceeds, and profits from

its Works and has a proprietary interest in this right. 1brought their conduct, the

Defendants has:

  (a) Contravened the Copyright Act;

  (b) Converted Plaintiffs proprietary rights unto themselves;

  (c) Deprived Plaintiff of revenues and other consideration; and

  (d) Unlawfully interfered with Plaintiffs economic relations.

155.   All of the Defendants' activities are done without the authorization of

Plaintiff and without any payment or compensation to Plaintiff.

156.   Plaintiff is therefore entitled to an accounting and disgorgement of all

revenues and profits (in whatever form) made by the Defendants from the

wrongful conversion of Plaintiffs property, and damages from the losses of actual

and prospective proceeds as a result of the Defendants' acts.

157.   By trafficking in, offering, and distributing the Works, the Defendants have



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directly, and intentionally facilitated the unauthorized reception, distribution and

use of Plaintiffs protected works by persons not authorized to receive them. The

Defendants have thereby unlawfully interfered with Plaintiffs economic relations

with its customers and lawful distributors, and are liable therefore.

158.   By reason of the foregoing, the Defendants are liable for all pecuniary

losses suffered by Plaintiff, as a result of their interference.

       COUNT ONE - COPYRIGHT INFRINGEMENT (17 U.S.C. 501)

159·   Plaintiff incorporates by reference the allegations in each of the preceding

paragraphs as if fully set forth in this paragraph.

160.   By its actions alleged above, Dr. Seuss Enterprises, Penguin Random

House, Cathy Goldsmith, Audrey Geisel, Tish Rabe & Joe Mathieu have

infringed and will continue to infringe Plaintiff copyrights in the book "The Pains

of Being Pure at Heat' by reproducing 'Daisy-Head Mayzie' for profit without

authorization or license from Plaintiff.

l6I.   Plaintiff is entitled to an injunction restraining Dr. Seuss Enterprises,

Penguin Random House, Cathy Goldsmith, Tish Rabe & Joe Mathieu, its agents,

employees, and all persons acting in concert with them, from engaging in any

further such acts in violation of the Copyright Act.

162.   Plaintiff is further entitled to recover from Dr. Seuss Enterprises, Penguin

Random House, Cathy Goldsmith Tish Rabe & Joe Mathieu, at Plaintiff

election, either (a) the damages it has sustained and will sustain, and any gains,

profits, and advantages obtained by Penguin Random House & and Cathy



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Goldsmith Tish Rabe & Joe Mathieu as a result of its acts of infringement as

alleged above, or (b) statutory damages for Penguin Random House, Cathy

Goldsmith, Tish Rabe and Joe Mathieu's willful infringement of its copyrights in

the Plaintiffs children's story "The Pains of Being Pure at Heart" (Exhibit 1-a).

163.   In light of Dr. Seuss Enterprises, Penguin Random House, Audrey Geisel,

Cathy Goldsmith, Tish Rabe and Joe Mathieu's willful and flagrant violation of

Plaintiff copyrights, Plaintiff also is entitled to recover from the Defendants

reasonable attorneys' fees and other costs of the action.

164.   The simple fact is that the Defendants have absolutely zero credibly as to

the origin of Daisy-Head Mayzie they have thus incriminated themselves to not

only willful copyright infringement but to intentional international fraud by

selling millions of copies of Daisy-Head Mayzie 1994-2016 claiming it to be an

original work of Theodore Geisel when in fact it is not, being that Joe Mathieu is

the real illustrator. Being that Audrey Geisel & Karl ZoBell of Dr. Seuss

Enterprises L.P. had distorted evidence to have the Plaintiff wrongfully arrested

on the 5th of November 2003 in Portland Oregon and did willfully commit perjury

and obstruction of justice in hopes that the truth would never be known and the

simple fact that they created a new version of the book and published it 15 days

after the time limit for appeal of T-231-15, clearly shows concealment and collusion

on part of the Defendants.      (Exhibit 43) shows they are continuing copyright

infringement and Vicarious Liability Shapiro, Bernstein and Co. v. H.L. Green

Co., 316 F.2d 304 (2d Cir. 1963).



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                             PRAYER FOR RELIEF



WHEREFORE, plaintiff Charles Augustus Steen III respectfully demands:



A.    That the Court find that defendants have infringed plaintiffs copyrights for

he first version of Daisy-Head Mayzie 1995-2016.



B.    The Plaintiff claims statutory damages pursuant to The Defendants have

acted in a high-handed, malicious, and reprehensible fashion, and in wanton and

reckless disregard for Plaintiffs rights, which ought not to be countenanced by

this Honourable Court. Accordingly, Plaintiff is entitled to punitive, aggravated,

and exemplary damages.



C.    WHEREFORE, Plaintiff prays for judgment against Defendants as

follows: 1. That Defendants be adjudged to have infringed upon Plaintiffs

copyrights in "The Pains of Being Pure at Heart" in violation of 17 U.S.C. §§ rn6

and 501.



For Plaintiffs damages derived by Defendants being each DR.                  SEUSS

ENTERPRISES L.P., and PENGUIN RANDOM HOUSE each pay the

Plaintiff for their Copyright Infringement of $150,000.00 per infringement, and

under 17 U.S.C. 501(a)(b) according to proof;



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(ii)    A cancellation of the Copyright Ownership in and to "Daisy-Head Mayzie

1995-2016" - the book, and



(i)     A cancellation of the Copyright Ownership in and to the animated video

"Daisy-Head Mayzie" - the animated video.



(ii)    For interim and permanent injunctive relief restraining future violations of

Plaintiffs Copyrights; and



(iii)   That the Court find that defendant will continue to infringe plaintiffs

copyrights, unless permanently enjoined from doing so;



(iv)    That the Court enter a permanent injunction restraining defendant, and its

agents, servants, employees, attorneys, successors and assigns, and all persons,

firms, and corporations acting in concert with them, from directly or indirectly

infringing plaintiffs copyrights, including but not limited to continuing to

manufacture, reproduce, distribute, market, advertise, promote, solicit, or accept

orders for, sell, or offer for sale the book 'Daisy-head Mayzie' and from

participating or assisting in any such activity;



(v)     That the Court order that an accounting be made for all profits, income,



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receipts, or other benefit derived by defendant from the reproduction, copying,

display, promotion, distribution, or sale of materials that improperly or unlawfully

infringe upon plaintiffs intellectual property rights;



(vi)    That the Court enter judgment for plaintiff and against defendant, at

Plaintiff election, either (a) for plaintiffs actual damages according to proof, and

for any profits attributable to infringements of plaintiffs copyrights according to

proof, or (b) for statutory damages based upon defendant's acts of infringement

pursuant to the Copyright Act of 1976, 17 U.S.C. 501.



(vii)   That the Court grant an award of plaintiffs costs and disbursements of this

action, including reasonable attorneys' fees, pursuant to 15 U.S.C. § 501; civil

remedies under title 17 such as Actual Damages 17.504(a)(b), Impoundment of

Infringing Material 17.503(a),17.510(a), Destruction of Infringing Material

17.503(b), Imprisonment 17.506(a),     Remedies 17.502(a)(b), Damages & Profits

17.504(a)(b)(1)(2),   Cost     &   Attorney's    Fee     17.505,   Criminal   Offenses

17.506(a)(1)(2)(b)(c)(d)(e)(f), Unpublished Works 17.104(a) and Exclusive Rights

in Copyrighted Works 17.106(1)(2)(3)(4)(5)(6).



(x)     That Defendants be required to account to Plaintiff for any and all profits

derived by their exploitation of "The Pains of Being Pure at Heart" in all media,

from all sources, worldwide;



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(xi)    That Defendants be ordered to pay over to Plaintiff all damages, including

future damages, that Plaintiff has sustained, or will sustain, as a consequence of

the acts complained of herein and that Plaintiff be awarded any profits derived by

Defendants as a result of said acts, or as determined by said accounting, or in the

alternative, statutory damages, pursuant to 17 U.S.C. § 504;



(xii)   For a judicial declaration that Defendants' use, reproduction, marketing,

sale, and distribution of "Daisy-Head Mayzie" 1995-2016, under the copyright

laws;



(xiii) That Plaintiff be awarded her costs, attorneys' fees, and expenses in this

action pursuant to 17 U.S.C. § 505;



(xiv) For such other and further relief as this Honorable Court deems just and

appropriate, Plaintiff respectfully requests the Court add Aggravated Damages as

well, for what the Defendants at Penguin Random House, and their associates

Audrey Geisel, Karl ZoBell, Cathy Anna Bencivengo have done to Plaintiffs

reputation, not only as a individual person, but as a writer for having lost

professional opportunities, because of their San Diego smear campaign against

the plaintiff in order to try and stop the truth from being known, and add

additional damages in the amount of $1,500,250,50, because that was the exact



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amount in which the defendants used against the plaintiff and distorted the

evidence in order to have the plaintiff arrested, thus it would only seem natural

and just to make the payback equal to the unjustly punishment , as well as grant

such other, further, and different relief as the Court deems just and proper.



                              JURY TRIAL DEMAND



Plaintiffs hereby request a trial by jury on all claims so triable.



                             BREAKDOWN OF COST



Defendant DR. SEUSS ENTERPRISES L.P. for Copyright Infringement the

sum for the minimum of ro books of DAISY-HEAD MAYZIE 1995-2016 sold in

the last three years being $2,500,000.00, under 17 U.S.C. 506 (a). & $2,500,250.50

for aggravated punitive damages.



Defendant PENGUIN RANDOM HOUSE for Copyright Infringement the sum

for the minimum of 20 books of DAISY-HEAD MAYZIE 1995-2016 sold in the

last three years being $5,000,000.00, under 17 U.S.C. 506 (a).




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